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                    UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                              BRIDGEPORT DIVISION
_______________________________________________
In re                                           : Chapter 11
                                                :
      Ho Wan Kwok,                              : Case No. 22-50073
                                                :
                          1
                  Debtor.                       :
                                                :
________________________________________________:

             JOINT STIPULATION TO EXTEND THE DEADLINE TO FILE
          COMPLAINT TO DETERMINE THE DISCHARGEABILTIY OF A DEBT

          The Debtor and Debtor in Possession, Ho Wan Kwok (“Debtor”) and the Official

Committee of Unsecured Creditors of the Debtor (the “Committee”) hereby stipulate and agree to

the Court’s entry of an order extending the deadline specified by Rule 4007(c) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) by thirty (30) days for all creditors of the

Debtors (the “Creditors”). In support hereof, the Debtor and Committee state as follows:

          WHEREAS, the Debtor commenced this action by filing a voluntary petition for relief

under Chapter 11 of Title 11 of the United State Code (the “Bankruptcy Code”); and

          WHEREAS, the Office of the United States Trustee first set the meeting for the meeting

of creditors under Bankruptcy Code section 341(a) for March 21, 2022 (the “341 Meeting”); and

          WHEREAS, on February 17, 2022, the Court provided notice [Docket No. 6] of a May

20, 2022, filing deadline to file a complaint (a “Dischargeability Complaint”) to have a debt

excepted from discharge pursuant to Bankruptcy Code section 523(c), which applies to debts of

the kind specified in Bankruptcy Code sections 523(a)(2), (a)(4), or (a)(6) (the “Dischargeability

Deadline”); and



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    The Debtor is known by the following names: Guo Wengui; Miles Guo; Miles Kwok; and Ho Wan Kwok.
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       WHEREAS, on April 6, 2022, Pacific Alliance Asia Opportunity Fund L.P.’s (“PAX”)

filed a Motion to Dismiss Chapter 11 Case or, in the Alternative, Partial Joinder to United States

Trustee’s Motion for an Order Directing the Appointment of a Chapter 11 Trustee, filed on April

6, 2022 (the “Dismissal Motion,” ECF No. 183); and

       WHEREAS, the Court entered a scheduling order scheduling the evidentiary hearing on

the Dismissal Motion for May 25, 2022 (the "Evidentiary Hearing"); and

       WHEREAS, pursuant to Federal Rule of Bankruptcy Procedure 4007(c), the Court may

extend the Dischargeability Deadline for good cause shown; and

       WHEREAS, the Debtor agrees that it would be unnecessary for Creditors to incur the

expense of filing and prosecuting a Dischargeability Complaint if the Court dismissed the Debtor’s

Chapter 11 Case following the Evidentiary Hearing.

               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED AS

FOLLOWS:

       1.      The Dischargeability Deadline for Creditors is extended by thirty days through and

including June 20, 2022, without prejudice to the Committee or any Creditor to seek a further

extension for cause shown.

       2.      The entry of an order approving this Stipulation on the Court’s docket will

constitute notice of the extended Dischargeability Deadline.

       3.      For the avoidance of doubt, the deadline to file a complaint objecting to discharge

under Bankruptcy Code section 1141(d)(3)(C) shall remain the first date set for hearing on

confirmation of any plan.

       4.      Nothing herein shall be construed as precluding: (i) the Debtor from challenging

the standing of the Committee to file or prosecute a Dischargeability Complaint or to file any




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motion seeking a further extension of the Dischargeability Deadline; or (ii) the Committee from

asserting that it has such standing .

       5.      This Stipulation shall be binding upon and inure to the benefit of the parties hereto,

any parties in interest in this case and each of their heirs, executors, administrators, successors,

and assigns.

       6.      This Stipulation may be signed in multiple counterparts and by facsimile

transmission or email, each of which, when taken together, shall constitute one executed original.

       7.      This Stipulation shall be deemed to have been jointly drafted by the parties in

construing and interpreting this Stipulation. No provision shall be construed and interpreted for or

against any of the parties because such provision or any other provision of the Stipulation was

prepared or requested by such party.




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Dated: Bridgeport, Connecticut
       May 18, 2022

 DEBTOR                                           OFFICIAL COMMITTEE OF
 HO WAN KWOK                                      UNSECURED CREDITORS OF HO
                                                  WAN KWOK

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 Counsel for Ho Wan Kwok, Debtor




         IT IS SO ORDERED at Bridgeport, Connecticut this 18th day of May, 2022.




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